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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division




   TIMOTHY MARSH,


                          Plaintiff,
                                                             Civil Action No. 1:18-cv-787
           V.                                                Hon. Liam O'Grady

   GERALD CURRAN,ESQ.. et al..

                          Defendants.



                           MEMORANDUM OPINION & ORDER


       This matter comes before the Court on Defendants' Motions to Dismiss for Lack of

Jurisdiction(Dkts. 38,40,& 42). The motions were fully briefed and the Court dispensed with

oral argument, finding that oral argument would not aid the Court in its decision. For the reasons

stated below and for good cause shown. Defendants' Motions to Dismiss(Dkts. 38,40,& 42)are

GRANTED IN PART,DENIED IN P.\RT.

                                        I. BACKGROUND


       Plaintiff has sued his wife's lawyers("Defendant Lawyers")and members of her family

(Kristina Hampton, Derek Hampton,and Danielle Richards; collectively "Family Defendants")

for allegedly recording FlaintifFs conversations with his attorneys and purported romantic

partner. Monika Pawar. and using the contents ofthose recordings in his underlying divorce

proceedings. Am. Compl. *1^ 2-3.

       Plaintiffs wife, Andrea Marsh, filed for divorce alleging that Plaintiff had committed

adultery. Id. ^ 17. Plaintiff alleges that the Hamptons and his wife worked together to place
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